       6:21-cv-00335-JD        Date Filed 04/26/21      Entry Number 47         Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION

 Timothy Tangen,
                                                           C.A. No.: 6:21-cv-00335-BHH
                                       Plaintiff,

                        v.

 Fluor Intercontinental, Inc.; Fluor                PLAINTIFF’S NOTICE OF DISMISSAL
 Government Group International, Inc.; and          OF DEFENDANT ALLIANCE PROJECT
 Alliance Project Services, Inc.,                        SERVICES, INC. WITHOUT
                                                     PREJUDICE, PURSUANT TO FED. R.
                                    Defendants.             CIV. P. 41(a)(1)(A)(i)



       Plaintiff Timothy Tangen respectfully gives notice of his dismissal, without prejudice, of all

claims that he has asserted in this lawsuit against Defendant Alliance Project Services, Inc. only,

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).




                                      Signature Page Follows
      6:21-cv-00335-JD   Date Filed 04/26/21   Entry Number 47      Page 2 of 2




                                     Respectfully submitted,

                                       /s/ John B. White, Jr.                 .
                                     John B. White, Jr. (Fed. ID No. 04619)
                                     Marghretta H. Shisko (Fed. ID No. 11601)
                                     Griffin L. Lynch (Fed. ID No. 09580)
                                     HARRISON WHITE, P.C.
                                     178 West Main Street
                                     P.O. Box 3547 (29304)
                                     Spartanburg, SC 29306
                                     (864) 585-5100
                                     jwhite@spartanlaw.com
                                     mshisko@spartanlaw.com
                                     glynch@spartanlaw.com


                                     Anthony G. Buzbee (State Bar No. 24001820)*
                                     Peter K. Taaffe (State Bar No. 24003029)*
                                     THE BUZBEE LAW FIRM
                                     JP Morgan Chase Tower
                                     600 Travis, Ste. 7300
                                     Houston, Texas 77002
                                     Telephone: (713) 223-5393
                                     Facsimile: (713) 223-5909
                                     tbuzbee@txattorneys.com
                                     ptaffe@txattorneys.com

                                     *Admitted Pro Hac Vice



                                     ATTORNEYS FOR PLAINTIFF

April 26, 2021

Spartanburg, SC




                                        2
